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                             ATTACHMENT A

1)   David Ball will testify about the creation and research that went into the
     development of the Reptile and the Keenan Ball Trial College. Address: 3405
     Hillsborough Road, Durham, North Carolina, 27705; Telephone (919) 961-
     8177.

2)   Gary Johnson will testify about the creation and research that went into the
     development of the Reptile and the Keenan Ball Trial College. Address: 110
     Caroline Avenue, Pikeville, Kentucky, 41501; Telephone (606) 437-4002

3)   Charles Allen will testify about the creation and research that went into the
     development of the Reptile, as well as being Don Keenan’s partner for many
     years. Address: 3575 Piedmont Rd. ND Bldg. 15-L130, Atlanta, GA, 30305;
     Telephone (404) 609-1444.

4)   Chris Stombough will testify about being a partner with Don Keenan and the
     Reptile techniques. Address: 10 North Dearborn Street, Eleventh Floor,
     Chicago, IL; Telephone (312) 214-7900.

5)   Ben Cloward will testify about his experiences with Don Keenan and Charles
     Allen and the Reptile techniques. Address: 801 So. 4th Street, Las Vegas,
     Nevada, 89101; Telephone (702) 444-4444.

6)   Sach Oliver will testify about his experience with Don Keenan and the Reptile
     techniques. Address: 3606 W. Southern Hills Blvd., Suite 200, Rogers, AR,
     72758; Telephone (479) 202-5200.

7)   Talia Thorton will testify about her time working for Don Keenan, and the
     truth about the Keenan Kids Foundation. Address: c/o Keenan Kids
     Foundation 148 Nassau St., NW, Atlanta, GA, 30303; Telephone (404) 223-
     5437.

8)   Andrew Gould will testify about his time working for Don Keenan and about
     the book he authored. Address: Hunt Tower, Suite 600, 200 Main Street,
     Gainesville, GA, 30501; Telephone (678) 207-2075

9)   Nick Mazarella will testify about his time working for Don Keenan. Address:
     c/o Keenan Kids Foundation 148 Nassau St., NW, Atlanta, GA, 30303;
     Telephone (404) 223-5437.

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10)   Matt Feller will testify about his time as a faculty member of the Keenan Ball
      Trial College and later with the Keenan Trial Institute. Address: 1834 East
      3100 North, Layton, UT, 84040; Telephone (801) 499-5060.

11)   Mindy Bish will testify about her time as a faculty member and dean of the
      Keenan Ball Trial College and later with the Keenan Trial Institute. She will
      also testify about her time as an employee with the KKF and Keenan Law
      Firm. Address: 22505 Market Street, Suite 104, Newhall, CA, 91321;
      Telephone (661) 250-6992.

12)   David Hoey will testify about his time as the dean of the Keenan Ball Trial
      College and Keenan Trial Institute. Address: 352 Park Street, Suite 105,
      North Reading, MA, 01864; Telephone (978) 664-3633

13)   Don Keenan will testify about the facts and circumstances surrounding this
      case, including the research and development into the Reptile, and more
      specifically the voir dire course.

14)   Sean Claggett will testify as to the facts and circumstances surrounding the
      allegations in the complaint. Address: 4101 Meadows Lane, Suite 100, Las
      Vegas, Nevada, 89107; Telephone: (702) 655-2346)

15)   Sam Harding will testify as to the facts and circumstances surrounding the
      allegations in the complaint. Address: 4101 Meadows Lane, Suite 100, Las
      Vegas, Nevada, 89107; Telephone: (702) 655-2346)

16)   Will Sykes will testify as to the facts and circumstances surrounding the
      allegations in the complaint. Address: 4101 Meadows Lane, Suite 100, Las
      Vegas, Nevada, 89107; Telephone: (702) 655-2346)

17)   Matt Granda will testify as to the facts and circumstances surrounding the
      allegations in the complaint. Address: 4101 Meadows Lane, Suite 100, Las
      Vegas, Nevada, 89107; Telephone: (702) 655-2346)

18)   Ryan Skiver will testify about his time being an instructor with KBTC and
      KTI, as well the specific trip to Greece he took with Sean Claggett, Don
      Keenan, Benjamin Boscolo and Mindy Bish. Address: 7201 E. Camelback
      Road, Suite 290, Scottsdale, AZ, 85251; Telephone (480) 626-1667.



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19)   Benjamin Boscolo will testify about his time being an instructor with KBTC
      and KTI, as well the specific trip to Greece he took with Sean Claggett, Don
      Keenan, Ryan Skiver and Mindy Bish. Address: 7852 Walker Drive, #300,
      Greenbelt, MD, 20770; Telephone (301) 220-0050.

20)   Pat Malone will testify about his teachings and writings. Address: 1310 Street
      NW, Suite 800, Washington D.C., 20005; Telephone (202) 742-1500.

21)   Tony Seaton will testify about his time as a faculty member with the KBTC
      and the KTI and other learning he obtained outside of these organizations.
      Address: 118 E. Watauga Avenue, Johnson City, TN, 37601; Telephone (423)
      282-1041.

22)   Jim Lyons will testify about his time as a faculty member with the KBTC and
      the KTI and other learning he obtained outside of these organizations.
      Address: 407 South Main, P.O. Box 7044, Jonesboro, AR, 72403; Telephone
      (870) 972-5440.

23)   Steve Bronson will testify about his time as a faculty member with the KBTC
      and the KTI and other learning he obtained outside of these organizations.
      Address: 7777 Fay Avenue, Suite 202, La Jolla, CA, 92037; Telephone (619)
      374-4130.

24)   Stuart Ratzan will testify about his time as a faculty member with the KBTC
      and the KTI and other learning he obtained outside of these organizations.
      Address: 1450 Brickell Avenue, Suite 2600, Miami, FL, 33131; Telephone
      (855) 754-5291.

25)   Brian Crockett will testify about his time as a faculty member with the KBTC
      and the KTI and other learning he obtained outside of these organizations.
      Address: 9900 Westpark Drive, Suite 200, Houston, TX, 77063; Telephone
      (281) 953-1180

26)   Toby Cole will testify about his time as a faculty member with the KBTC and
      the KTI and other learning he obtained outside of these organizations.
      Address: 1616 S. Voss, Suite 450, Houston, TX, 77057; Telephone: (832)
      539-4900

27)   William Entrekin will testify about his employment with the Keenan Law
      Firm/Keenan Kids Foundation. He will also testify about the communications

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      he emailed out to listserves. Address: 148 Nassau St., NW, Atlanta, GA,
      30303; Telephone (404) 223-5437.

28)   Allan Galbraith will testify about his employment with the Keenan Law
      Firm/Keenan Kids Foundation. Address: 72657 Bel Air Road, Palm Desert,
      CA, 92260; Telephone (404) 523-2200.

29)   Elizabeth Larrick will testify about her time as a faculty member with the
      KBTC/KTI and her time as a Keenan Fellow employee. Address: 1714
      Fortview Road, Suite 101, Austin, TX, 78704; Telephone (512) 893-5700

30)   Gregg Luther will testify about his time as a faculty member with the
      KBTC/KTI and his time as an employee with the Keenan Law Firm/Keenan
      Kids Foundation. 148 Nassau St., NW, Atlanta, GA, 30303; Telephone (404)
      223-5437.

31)   Russell Button will testify about his time as a faculty member with the
      KBTC/KTI and his time as an employee with the Keenan Law Firm/Keenan
      Kids Foundation. Address: 4315 West Lovers Lane, Suite A, Dallas, TX,
      75209; Telephone (214) 699-4409.

32)   Clennette Reid will testify about her time with Keenan Kids Foundation as
      the Keenan Trial Institute Program Coordinator. 148 Nassau St., NW,
      Atlanta, GA, 30303; Telephone (404) 223-5437.

33)   Jennifer Scott will testify about her time with the Keenan Kids Foundation as
      the Keenan Trial Institute Program Assistant. 148 Nassau St., NW, Atlanta,
      GA, 30303; Telephone (404) 223-5437.

34)   Kaitlyn Groselle will testify about her time with the Keenan Kids Foundation
      as the Keenan Trial Institute Listserv Manager. Address: 148 Nassau St.,
      NW, Atlanta, GA, 30303; Telephone (404) 223-5437.

35)   Joan Dauphine, R.N. will testify about her role as Keenan Kids Foundation
      board member on the board of directors. Address: 148 Nassau St., NW,
      Atlanta, GA, 30303; Telephone (404) 223-5437.

36)   Shawn Huff will testify about his role as Keenan Kids Foundation board
      member on the board of directors. Address: 148 Nassau St., NW, Atlanta,
      GA, 30303; Telephone (404) 223-5437.

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37)   Danica Kombol will testify about her role as Keenan Kids Foundation board
      member on the board of directors. Address: 148 Nassau St., NW, Atlanta,
      GA, 30303; Telephone (404) 223-5437.

38)   John Monaco, M.D. will testify about his role as Keenan Kids Foundation
      board member on the board of directors. Address: 148 Nassau St., NW,
      Atlanta, GA, 30303; Telephone (404) 223-5437.

39)   Gino Brogdon will testify about his role as Keenan Kids Foundation board
      member on the board of directors. Address: 148 Nassau St., NW, Atlanta,
      GA, 30303; Telephone (404) 223-5437.

40)   David Goo, M.D. will testify about his role as Keenan Kids Foundation board
      member on the board of directors. Address: 148 Nassau St., NW, Atlanta,
      GA, 30303; Telephone (404) 223-5437.

41)   Theresa Carter will testify about her work with the Keenan Kids Foundation,
      KBTC, KTI, and the Keenan Law Firm. She will also testify about the
      finances about each of these companies. Address: 148 Nassau St., NW,
      Atlanta, GA, 30303; Telephone (404) 223-5437.

42)   Autumn Riley will testify about her work with the Keenan Kids Foundation.
      Address: 148 Nassau St., NW, Atlanta, GA, 30303; Telephone (404) 223-
      5437.

43)   Charlotte Burns will testify about her work with the Keenan Kids Foundation.
      Address: 148 Nassau St., NW, Atlanta, GA, 30303; Telephone (404) 223-
      5437.

44)   Judd S. Jackson CPA will testify about his work on behalf of the Keenan Kids
      Foundation, KBTC, KTI, and the Keenan Law Firm. Address: 148 Nassau
      St., NW, Atlanta, GA, 30303; Telephone (404) 223-5437.

45)   Nick Rowley will testify about his teachings and writings. Address: 8827
      West Olympic Blvd., Beverly Hills, CA, 90211; Telephone (310) 273-1230.

46)   Joseph Fried will testify about his teachings and writings. Address: 3550
      Lenox Road, N.E., Suite 1500, Atlanta, GA, 30326; Telephone (404) 591-
      1800.



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47)   Dan Ambrose will testify about his teachings and writings. Address: 9701
      Wilshire Blvd., Beverly Hills, CA 90212; Telephone (248) 808-3130.

48)   Rich Newsome will testify about his teachings and writings. Address: 201 S.
      Orange Avenue #1500, Orlando, FL, 32801; Telephone (407) 871-3856.

49)   Tim Mott will testify about his time as a student at the KBTC and KTI and
      emails received from KKF/KTI/Keenan Law Firm. Address: 7785 W. Sahara
      Avenue, Suite 102, Las Vegas, Nevada, 89117; Telephone (702) 623-2323

50)   Jaime Cogburn will testify about his time as a student at the KBTC and KTI
      and emails received from KKF/KTI/Keenan Law Firm. Address: 2580 St.
      Rose Parkway, Henderson, NV, 89074; Telephone (702) 748-7777

51)   Josh Benson will testify about his time as a student at the KBTC and KTI and
      emails received from KKF/KTI/Keenan Law Firm. Address: 10001 W. Park
      Run Drive, Las Vegas, Nevada, 89145; Telephone (702) 382-0711

52)   Chantelle Normand will testify about her time as an employee of the Keenan
      Law Firm/KKF/KBTC. Address: 148 Nassau St., NW, Atlanta, GA, 30303;
      Telephone (404) 223-5437.

53)   Danny Ellis will testify about his time as an instructor at KBTC and KTI.
      Address: 148 Nassau St., NW, Atlanta, GA, 30303; Telephone (404) 223-
      5437.

54)   Jude Basile will testify about his teachings and writings on trial strategy to
      include jury selection. Address: 1334 Chorro Street, San Luis Obispo, CA,
      93401; Telephone (805) 781-8600.

55)   Lloyd Bell will testify about his teachings and writings on trial strategy to
      include jury selection. Address: 1201 Peachtree Street NE 200, Atlanta, GA,
      30361; Telephone (404) 249-6768.

56)   Bill Bradley will testify about his teachings and writings on trial strategy to
      include jury selection. Address: 6900 S. McCarran Blvd., Suite 2000, P.O.
      Box 1987, Reno, Nevada, 89505; Telephone (775) 335-9999.




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57)   Thomas Demetrio will testify about his teachings and writings on trial strategy
      to include jury selection. Address: 33 N. Dearborn Street, 21st Floor, Chicago,
      IL, 60602; Telephone (312) 346-3191.

58)   Robert Eglet will testify about his teachings and writings on trial strategy to
      include jury selection. Address: 400 S. 7th Street, #400, Las Vegas, Nevada,
      89101; Telephone: (702) 450-5400.

59)   James Fitzgerald will testify about his teachings and writings on trial strategy
      to include jury selection. Address: 2108 Warren Avenue, Cheyenne, WY,
      82001; Telephone (307) 634-4000.

60)   Dale Galipo will testify about his teachings and writings on trial strategy to
      include jury selection. Address: 21800 Burbank Blvd., Suite 310, Woodland
      Hills, CA, 91367; Telephone (818) 347-3333.

61)   Thomas Girardi will testify about his teachings and writings on trial strategy
      to include jury selection. Address: 1126 Wilshire Blvd., Los Angeles, CA,
      90017; Telephone (213) 977-0211.

62)   J. Charles Hepworth will testify about his teachings and writings on trial
      strategy to include jury selection. Address: 537 West Bannock, P.O. Box
      2582, Boise, ID, 83702; Telephone (208) 343-7510.

63)   Thomas Kline will testify about his teachings and writings on trial strategy to
      include jury selection. Address: 1525 Locust Street, 19th Floor, Philadelphia,
      PA, 19102; Telephone (215) 772-1000.

64)   Mark Lanier will testify about his teachings and writings on trial strategy to
      include jury selection. Address: 6810 FM 1960 West, Houston, TX, 77069;
      Telephone (713) 659-5200.

65)   Zoe Littlepage will testify about his teachings and writings on trial strategy to
      include jury selection. Address: 1912 West Main Street, Houston, TX, 77098;
      Telephone (713) 529-8000.

66)   Randi McGinn will testify about his teachings and writings on trial strategy to
      include jury selection. Address: 201 Broadway SE, Albuquerque, NM,
      87102; Telephone (505) 843-6161.



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67)   Dorothy Clay Sims will testify about his teachings and writings on trial
      strategy to include jury selection. Address: 334 Northwest Third Avenue,
      Ocala, FL, 34475; Telephone (352) 816-4517.

68)   Shanin Specter will testify about his teachings and writings on trial strategy
      to include jury selection. Address: 1525 Locust St., 19th Floor, Philadelphia,
      PA, 19102; Telephone (215) 772-1000

69)   Robert Kelly will testify about his teachings and writings on trial strategy to
      include jury selection. Address: 500 North Federal Highway, Suite 200, Fort
      Lauderdale, FL, 33301; Telephone (954) 522-6601

70)   Alex Alvarez will testify about his teachings and writings on trial strategy to
      include jury selection. Address: 3251 Ponce De Leon Blvd., Coral Gables,
      FL, 33134; Telephone (305) 444-7675.

71)   Richard Friedman will testify about his teachings and writings on trial strategy
      to include jury selection. Address: 1126 Highland Avenue, Bremerton, WA,
      98337; Telephone (360) 782-4300.

72)   Keith Mitnik will testify about his teachings and writings on trial strategy to
      include jury selection. Address: 20 North Orange Avenue, Suite 1600,
      Orlando, FL, 32801; Telephone (877) 906-7509.

73)   Brian Panish will testify about his teachings and writings on trial strategy to
      include jury selection. Address: 11111 Santa Monica Blvd., Suite 700, Los
      Angeles CA, 90025; Telephone (310) 477-1700.

74)   Rex Paris will testify about his teachings and writings on trial strategy to
      include jury selection. Address: 43364 10th Street West, Lancaster, CA,
      93534; Telephone (661)-485-2072

75)   Bill Barton will testify about his teachings and writings on trial strategy to
      include jury selection. Address: 214 SW Coast Hwy., Newport, OR, 97365;
      Telephone: (541) 265-5377.




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